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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Crim. No. 03-10058-01
                                              )       Civ. No. 09-1108
QUINCY DARNELL BLUE,                          )
                                              )
                       Defendant.             )
                                              )


                                    Memorandum and Order

       This matter is before the court on defendant Quincy Blue’s motion to vacate sentence

pursuant to 28 U.S.C. § 2255. The motion alleges that the defendant’s sentence is invalid

because it was based on an erroneous finding that he was a “career offender” under USSG

4B1.2. To qualify as a career offender, a defendant must have at least two prior felony

convictions of a crime of violence and/or a controlled substance offense. USSG § 4B1.1 (a). In

Chambers v. United States, 129 S.Ct. 687 (Jan. 13, 2009), the Supreme Court held that a

defendant’s prior escape conviction for failure to report to a penal institution was not a “violent

felony” within the meaning of the Armed Career Criminal Act (ACCA). Relying on Chambers,

defendant argues that his prior escape convictions were erroneously classified as crimes of

violence and that he was erroneously sentenced as a career offender.

       I. Background.

       Defendant was convicted by a jury of one count of bank robbery, in violation of 18

U.S.C. § 2113(a) & (d) and 18 U.S.C. § 2, and one count of possession of a firearm during and in

relation to a crime of violence, in violation of 18 U.S.C. § 924(c)(1) and 18 U.S.C. § 2. Docs.
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14, 53. A Presentence Report (PSR) was prepared, which found that Mr. Blue qualified as a

career offender within the meaning of USSG 4B1.2 in part because he “has at least two prior

felony convictions, which are crimes of violence.” PSR ¶35. This was an apparent reference to

two prior Kansas convictions for Aggravated Escape from Custody, in violation of K.S.A. § 21-

3810. See PSR ¶¶ 46, 47. The Presentence Report also listed two prior convictions for

controlled substance offenses, including Sedgwick Co. Case No. 93CR237 for Possession of

Cocaine With Intent to Sell (PSR Pp. 9-10); and Sedgwick County Case No. 93CR294 for

Possession of Marijuana and Cocaine With Intent to Sell (PSR ¶42). The PSR indicated that

defendant was sentenced in these two drug cases on the same day, and that he was placed on

probation after receiving a concurrent, suspended 3-10 year imprisonment sentence on each of

the drug counts.

       As a result of the finding that defendant was a career offender under 4B1.2, the PSR

found his total offense level to be 34. Defendant’s Criminal History Category was found to be

VI, with a resulting guideline range of 360 months to life imprisonment. Defendant filed no

objections to the PSR. On November 3, 2003, the court sentenced him to a total of 360 months

imprisonment, including 300 months on the bank robbery (Count 1) and a consecutive sentence

of 60 months on the firearm offense (Count 2). Doc. 62. Judgment was entered on November 5,

2003. Doc. 63.

       Defendant filed a direct appeal challenging this court’s denial of his motion to suppress

evidence of statements made to officers after his arrest. He did not challenge the career offender

classification. See Doc. 64. On March 9, 2005, the Tenth Circuit issued a mandate affirming

the conviction. Doc. 102. Defendant filed a Petition for Writ of Certiorari, but it was denied by


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the Supreme Court on June 20, 2005. Docs. 104, 105.1

        II. Motion under § 2255.

        On April 15, 2009, defendant filed the instant motion under § 2255, arguing the Supreme

Court’s ruling in Chambers v. United States, 129 S.Ct. 687 (2009) overturned Tenth Circuit case

law upon which his sentence was based, such that he is entitled to resentencing. He argues that

in light of Chambers, his escape convictions – both of which allegedly involved “walk aways”

from unsecured facilities – did not qualify as crimes of violence. Doc. 114 at 3.2 Defendant

notes that without a career offender classification, his effective guideline range would have been

144-165 months. Defendant argues that this shows the alleged error was prejudicial.

        Anticipating the Government’s claim that his motion is barred by the one-year statute of

limitation in 28 U.S.C. § 2255(f)(3), defendant notes the limitation period can run from “the date

on which the right asserted was initially recognized by the Supreme Court, if that right has been

newly recognized by the Supreme Court and made retroactive to cases on collateral review.” He

argues the right in question was newly recognized by the Supreme Court’s 2009 Chambers

opinion. Moreover, he argues Chambers is fully retroactive because it was based on statutory

interpretation. He thus contends the motion is timely and that Chambers must be applied to his

case.




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         Additionally, in 2007 Mr. Blue apparently filed an application with the Tenth Circuit
Court of Appeals to file a second or subsequent motion under 28 U.S.C. § 2255. On February 8,
2007, the Tenth Circuit dismissed the application, noting that defendant had never filed a prior §
2255 motion, so he did not need to apply for permission to file a second one.
        2
         The PSR indicates that in both of these offenses, the defendant walked away from the
Community Corrections Residential Program where he had been directed to reside as a result of
being placed on probation with community corrections. PSR ¶¶ 45, 46.

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       Defendant also anticipates the Government’s contention that he otherwise qualifies as a

career offender because of the two prior controlled substance convictions included in the

Presentence Report. Defendant concedes that he had such convictions at the time of sentencing,

but points out the sentencing for these two cases occurred on the same day, and he suggests they

might be counted as “related cases” under the guidelines. If they are, he says he would have

only one prior predicate felony and would not qualify as a career offender. Doc. 114 at 11. And

although the Presentence Report indicates the two drug offenses were separated by an

intervening arrest – which would mean they are to be counted separately under the guidelines –

his attorney suggests that the arrest dates in the PSR might be wrong, because “from this

counsel’s experience these arrest dates which the probation officer receives from the jail

institutions have not always been entirely accurate.” Id. Defendant notes that this issue was

likely never explored in 2003, and he argues the uncertainty surrounding it should prevent the

court from relying on the harmless error doctrine to deny his motion.

       In its response, the Government argues the court should “deny Defendant’s 2255 motion

as untimely because he filed it well over one year after his conviction and sentence became

final.” Doc. 117 at 5. Alternatively, it argues that his two controlled substance offense

convictions qualify as predicate felonies, such that the defendant was correctly sentenced as a

career offender. Id.

       III. Discussion.

       A. Timeliness. To be considered timely under §2255(f)(3), the right asserted by Mr.

Blue must have been newly recognized by the Supreme Court in Chambers, and that right must

be made retroactively applicable to cases on collateral review.


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       The court finds that the right asserted by the defendant was newly recognized by the

Supreme Court in Chambers. In discussing retroactivity, the Supreme Court has said that a

“new” rule means one that was not dictated by precedent existing at the time the defendant’s

conviction became final. Whorton v. Bockting, 549 U.S. 406, 416 (2007). A reading of

Chambers shows that the ruling was not dictated by prior precedent, but was based in significant

part on a review and application of statistical evidence compiled in a U.S. Sentencing Guideline

report from 2006-07. Chambers, 129 S.Ct. at 692-93. The Chambers rule was thus not dictated

by existing precedent when defendant’s Blue’s conviction became final. Additionally, the court

finds defendant Blue is asserting the same right that was recognized by Chambers, even though

he seeks to apply the rule to “walkaway” escapes, which is beyond the specific facts of the

Chambers case. But see United States v. McNeal, 2009 WL 1731742 (W.D. Wis., June 18,

2009) (finding the defendant was not asserting the right recognized in Chambers because“the

Supreme Court has never held that an escape from a locked facility, such as a prison camp, is not

to be treated as a crime of violence for sentencing purposes. That means that defendant’s motion

is untimely.”). The court expresses no opinion here as to whether Chambers actually provides

the defendant any grounds for relief insofar as the classification of his prior escape convictions

are concerned. Cf. United States v. Charles, 2009 WL 2436663 (10th Cir., Aug. 11, 2009) (on

direct appeal, noting that Chambers undermined prior circuit law; remanding for resentencing so

district court can determine whether defendant’s “walkaway” conviction was career-offender-

qualifying escape from custody). That issue goes to the merits of his claim. The court only

concludes here that he is asserting the same right initially recognized by Chambers, and that he

has done so within one year period of §2255(f)(3).


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       The issue of retroactivity presents a difficult question. The Chambers decision is too

recent to have generated much case law, although several courts have addressed the retroactivity

of Begay v. United States, 128 S.Ct. 1581 (2008), a similar case where the Supreme Court ruled

that a conviction for DUI was not a violent felony under the Armed Career Criminal Act. In

short, the courts have reached contradictory results on the retroactivity of such rules. See Sun

Bear v. United States, 2009 WL 2033028 (D. S.D., July 9, 2009) (Begay not retroactively

applicable under the standards of Teague v. Lane, 489 U.S. 288 (1989)); Lindsey v. United

States, 2009 WL 2337120 (W.D. Mo., July 29, 2009) (same); United States v. Narvaez, 2009

WL 1505658 (W.D. Wis., May 26, 2009) (Begay and Chambers are not retroactive; defendant’s

§2255 rejected as untimely). But see United States v. Leonard, 2009 WL 499357 (N.D. Okla.,

Feb. 27, 2009) and United States v. McElroy, 2009 WL 1372908 (N.D. Okla., May 14, 2009)

(Begay is a new substantive rule and is therefore retroactive; Teague rule inapplicable to

substantive rules). See also George v. United States, 2009 WL 1370858 (M.D. Fla., May 14,

2009) (Begay and Chambers are retroactive because they announced new substantive rules of

criminal law).

       Most of the cases finding the rule of Crawford and/or Begay to be non-retroactive have

done so under the framework of Teague v. Lane, 489 U.S. 288 (1989). But as Chief Judge Eagan

noted in Leonard, Teague is used to determine the retroactivity of new procedural rules; it does

not apply to new substantive rules. See Schriro v. Summerlin, 542 U.S. 348, 352, n.4. Unlike

new procedural rules, new substantive rules generally apply retroactively. Id. at 351. A rule is

substantive if it alters the range of conduct or the class of persons that the law punishes. Id. at

353. “This includes decisions that narrow the scope of a criminal statute by interpreting its terms


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... as well as constitutional determinations that place particular conduct or persons covered by the

statute beyond the State’s power to punish.” Id. at 352. Such rules apply retroactively because

they necessarily carry a significant risk that a defendant stands convicted of an act that the law

does not make criminal or that the defendant faces a punishment that the law cannot impose

upon him. Id.

       The court finds Judge Eagan’s retroactivity analysis to be persuasive, and concludes that

Chambers established a new substantive rule that applies to cases on collateral review.

Chambers “narrow[ed] the scope of a criminal statute by interpreting its terms” – it restricted the

scope of the ACCA by interpreting the term “violent felony.” The Court thereby limited the

authority of sentencing judges to impose increased punishment on defendants whose only

predicate felonies are escape convictions that were for a failure to report. As the Tenth Circuit

noted in United States v. Charles, supra, Chambers also “casts doubt” as to whether a conviction

for walking away from a halfway house can qualify as a “crime of violence.” Defendants who

have been sentenced on the basis of certain prior convictions may thus have been subjected to

increased punishment that the law did not allow. Under the Chambers rule, the law does not

allow defendants with predicate convictions of the type identified by the Court to be subjected to

increased punishment as career offenders. See McElroy, 2009 WL 1372908, *3 (Begay is a new

substantive rule because it limits a court’s authority to increase a defendant’s punishment for

certain types of conduct.). For these reasons, the court finds that the rule of Chambers is

retroactively applicable to collateral review. Defendant’s §2255 petition seeking to apply the

rule of Chambers to his case was thus timely filed.




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       B. Procedural Default.

       In his direct appeal, the defendant apparently did not challenge his sentence or the

finding that he qualified as a career offender under the guidelines. As a general rule, claims not

raised on direct appeal may not be raised on collateral review unless the petitioner shows cause

and prejudice. Massaro v. United States, 538 U.S. 500, 504 (2003). This procedural default rule

“is neither a statutory nor a constitutional requirement, but it is a doctrine adhered to by the

courts to conserve judicial resources and to respect the law's important interest in the finality of

judgments.” Id.

       The Government has not argued that defendant’s claim is barred by his failure to raise it

on direct appeal. Under the circumstances, the court will not sua sponte seek to apply the bar, as

consideration of the bar at this point would require additional briefing and would not serve the

interests of judicial efficiency. See United States v. Wiseman, 297 F.3d 975, 979-80 (10th Cir.

2002). Cf. United States v. Coley, 2009 WL 2019859 (11th Cir., July 14, 2009).

       C. Career Offender Status.

       Defendant’s claim that he was unlawfully sentenced as a career offender must fail on the

record. Even assuming he could show that his escape convictions should not have been counted

as crimes of violence, and further assuming that his claim of an erroneous guideline calculation

falls within the scope of a §2255 motion, the record shows that at the time of sentencing he had

two prior controlled substance convictions that would count toward career offender status.

Defendant was thus appropriately sentenced as a career offender, and the alleged error of which

he complains could have made no difference in the sentence he received. Cf. United States v.

Patterson, 561 F.3d 1170, 1172 (10th Cir. 2009) (any error in relying on escape conviction was


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harmless because it did not affect the sentence imposed).

       To be sentenced as a career offender, three requirements had to be met: “(1) the

defendant was at least eighteen years old at the time the defendant committed the instant offense

of conviction; (2) the instant offense of conviction is a felony that is either a crime of violence or

a controlled substance offense; and (3) the defendant has at least two prior felony convictions of

either a crime of violence or a controlled substance offense.” USSG § 4B 1.1(a) (Nov. 2002).

       A “controlled substance offense” was defined as “an offense under federal or state law,

punishable by imprisonment for a term exceeding one year, that prohibits the manufacture,

import, export, distribution, or dispensing of a controlled substance ... or the possession of a

controlled substance ... with intent to manufacture, import, export, distribute, or dispense.” U.S.

S.G. § 4B 1.2(b) (Nov. 2002). The requirement that a defendant must have had two qualifying

convictions required that the sentences for the two offenses be counted separately under

§4A1.1(a), (b), or (c). USSG §4B1.2(c).

       The defendant was over 18 years old at the time he committed the bank robbery and

firearm offenses in the instant case, and these offenses constituted crimes of violence.

Additionally, the Presentence Report shows that defendant had two prior controlled substance

offenses. According to the Report, the defendant was arrested on January 3, 1993, and was

charged in Sedgwick County Case No. 93CR237 with Possession of Cocaine With Intent to Sell.

(PSR p. 9). He was then arrested on February 10, 1993, and charged with several offenses,

including Possession of Marijuana With Intent to Sell and Possession of Cocain With Intent to

Sell. Defendant was convicted in both cases and was sentenced for both cases on August 13,

1993. He was given a 3-10 year imprisonment sentence on each of the drug counts, concurrent,


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with the sentence suspended, and he was placed on probation. His probation was revoked

several times thereafter.

       Under the facts in the Presentence Report, these two prior controlled substance offenses

count separately under USSG §4A1.2, because the defendant was arrested for the first offense

before he committed the second. See USSG §4A1.2, comment., n.3 (cases are not related if they

were separated by an intervening arrest). Defendant’s only argument to the contrary is to

suggest that the arrest date in the Presentence Report might be wrong, because “from counsel’s

experience” such dates “have not always been entirely accurate.” Doc. 114 at 11. Under Section

2255, an evidentiary hearing is required unless “the motion and the files and the records of the

case conclusively show that the prisoner is entitled to no relief.” Defendant’s argument – which

does not even amount to an allegation that the arrest date in the PSR is incorrect – is not

sufficient to warrant an evidentiary hearing on the defendant’s motion. No evidentiary hearing is

required if the prisoner fails to produce any independent indicia of the likely merit of his

allegations. United States v. Edwards, 442 F.3d 258, 264 (5th Cir. 2006).

        IV. Conclusion.

       The defendant’s Motion §2255 to Vacate Sentence (Doc. 114) is DENIED. Moreover,

because defendant has failed to make a substantial showing of the denial of a constitutional right,

it is further ordered that a Certificate of Appealability under the provisions of 28 U.S.C. § 2253

is hereby DENIED. IT IS SO ORDERED this 20th Day of August, 2009, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




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